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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ACCIDENT INSURANCE COMPANY, INC. CIVIL ACTION NO.: 6:12-cv-387
V. JUDGE DOHERTY
BENJAMIN B. BLANCHET, ET. AL. MAGISTRATE HANNA

 

MEMORANDUM IN SUPPORT OF
MOTION TO DISMISS OR ALTERNATIVELY
MOTION TO STAY ACTION

 

MAY IT PLEASE THE COURT:
I. Introduction:

Defendants, Boudreaux and HSB are right now litigating the facts at the heart of this
Federal Declaratory Judgment action in the State Court in the adjoining Parish of
Vermilion. Boudreaux and HSB were sued in the underlying State Court case on
September 10, 2012 in connection with the design and construction of a major addition to
co-defendants, Benjamin and Anne Blanchet's historic home, the design and construction
of a children’s wing and the restoration of the historic home. The State Court litigation
already has been pending for seven months. Boudreaux and HSB tendered the ciaim to
Accident Insurance Company, Inc. (“Accident”), under its commercial general liability policy
issued by Accident. Accident has now filed this Declaratory retief action in Federal Court
based solely on diversity jurisdiction, seeking a determination of its duty to indemnify
Boudreaux and HSB.

Although the existence of another remedy does not necessarily preclude the

rendition of a declaratory judgment by a federal court [see Fed. R. Civ. P. 57], federal
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courts have the right and duty to exercise discretion concerning whether they should
dismiss or stay a federal court declaratory relief action when another action covering the
same dispute is pending in state court. Wilton v. Seven Falls Co., 515 U.S. 277, 282-283,
115 S.Ct. 2137, 132 L.Ed. 2d 214 (1995). Indeed, as long ago as 1942, the U.S. Supreme
Court noted that when, in anticipation of a suit on the policy, an insurer often attempts to
preempt that suit with a federal court declaratory relief action. The court stated that
“Lo]rdinarily it would be uneconomical as well as vexatious for a federal court to proceed
in a declaratory judgment suit where another suit is pending in state court presenting the
same issues, not governed by federal law, between the same parties.” Brillhart v. Excess
Ins. Co. of Am., 316 U.S. 491, 495, 62 S.Ct. 1173, 86 L.Ed. 1620 (1942). That is the exact
situation presented to this court in this action.

Federal courts may dismiss or abstain from deciding a case, particularly a
declaratory relief action, under the federal abstention doctrine. Where, as here, there are
overlapping factual issues to be decided, where there is a danger of inconsistent results,
and where it is more economical and efficient to have the matters at issue tried in, or tried
in a case coordinated with, the pending state court action, abstention is not only prudent,
but it is necessary. Accident should not be allowed to forum shop, nor to gain precedence
over the long-standing state court action. Boudreaux and HSB seek dismissal of the
instant lawsuit because plaintiff cannot meet the essential elements for declaratory relief
under the Declaratory Judgment Act, 28 U.S.C.A. §2201, and fails to state a claim on
which relief can be granted. Plaintiff can assert in the litigation between the parties that
is pending in the state court action all of the issues on which it seeks either declaratory or
affirmative relief in this court. As a result, plaintiffs declaratory complaint fails to state a

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claim for relief under the Declaratory Judgment Act, 28 U.S.C.A. §2201. Boudreaux and
HSB alternatively request that the Court stay these proceedings {addressing the duty to

indemnify) until tiability in the underlying state court action is resolved.

A. The Underlying State Court Action and this Diversity-based Claim for
Deciaratory Retief on Accident’s Duty to Indemnity.

On September 10, 2012, Benjamin and Anne Blanchet sued Boudreaux and HSB
in the Fifteenth Judicial District Court, Parish of Vermilion, State of Louisiana (the
underlying state court action) alleging several causes of action, to include defective design,
negligent and defective construction, negligent supervision, breach of contract and unjust
enrichment (the “underlying claim”’}. (See Petition for Damages and Declaratory Relief
attached as Exhibit A to the Complaint, Doc 1-2.) The state court suit seeks damages and
relates to Boudreaux’s work as an architect and HSB’s work as general contractor in the
design and construction of a project to build an addition to the Blanchets’ historic home,
construct a children’s wing and restore the historic home. The Blanchets’ Petition names
ABC Insurance Company as a party defendant. Boudreaux and HSB tendered the claims
asserted in the lawsuit to Accident. Accident agreed to defend Boudreaux and HSB,
subject to a reservation of rights. On February 21, 2013, Accident filed this declaratory
relief action, alleging diversity jurisdiction. Specifically, Accident seeks a judicial
determination that it does not owe Boudreaux and HSB a duty to defend and indemnify it
for the allegations made by Benjamin and Anne Blanchet in the underlying state court
action.

Accident's declaratory relief claim asserts the underlying claim is not covered for

several reasons. First, Accident contends that the policy does not provide coverage for
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claims of damages arising from Boudreaux’s work or product. Second, Accident contends
that the policy does not cover charges for professional services rendered by Boudreaux.
Third, Accident alleges that the policy does not provide coverage for claims for emotional
distress. Boudreaux and HSB contend that the underlying claim is covered and that
Accident’s cited policy arguments do not apply. One thing is certain, resolution of these
coverage issues require a factual determination of (1) what acts and omissions did and did
not occur, when and by whom; (2) what items and types of damages occurred; (3) which
acts or omissions caused or contributed to the breaches asserted by the Blanchets and the
damages asserted by them, in the whole or in part. All of these matters currently are being

determined in the underlying state court action.

B. The Court Should Dismiss, or Alternatively Stay This Action Under The
GSrilthart Discretionary Abstention Doctrine.

Federal courts are authorized to hear declaratory judgment actions under the
Declaratory Judgment Act, which provides:

In a case of actual controversy within its jurisdiction, ...any
court of the United States, upon the filing of an appropriate
pleading, may declare the rights and other legal relations of
any interested party seeking such declaration, whether or not
further relief is or could be sought. 28 U.S.C. §2201(a)
(emphasis added)

The Supreme Court in Brilfhart v. Excess Ins. Co. of America, 316 U.S. 491 (1942)
noted that although a district court may exercise jurisdiction, it has discretion not to do so.

Where a district court is presented with a claim such as was
made here, it should ascertain whether the questions in
controversy between the parties to the federal suit, and which
are not foreclosed under the applicable substantive law, can
better be settled in the proceeding pending in the state court

Brillhart, 316 U.S. at 495.
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In Wilton v. Seven Falls Co., 515 U.S. 277 (1995), the Supreme Court observed that
“By the Declaratory Judgment Act, Congress sought to place a remedial arrow in the
district court's quiver; it created an opportunity, rather than a duty, to grant a new form of
relief to qualifying litigants....In the declaratory judgment context, the normal principle that
federa! courts should adjudicate claims within their jurisdiction yields to considerations of
practicality and wise judicial administration.” Wilton, 515 U.S. at 288.

In analyzing whether to decide or dismiss a declaratory judgment suit, the district
court must determine: (1) whether the declaratory action is justifiable; (2) whether the court
has the authority to grant declaratory relief; and (3) whether to exercise its discretion to
decide or dismiss the action. Orix Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 895 (5thCir.
2000) and the Sherwin-Williams Co. v. Holmes County, 343 F.3d 383, 387 (5" Cir. 2003).

In the Fifth Circuit, the test to shape the Brilfhart analysis in determining whether to
decide or dismiss a declaratory action was enunciated in St. Paul Ins. Co. v. Trejo, 39 F.3d
585, 590,91 (5" Cir. 1994). In Trejo, the court identified seven non-exclusive factors to
consider in deciding whether to dismiss a declaratory judgment action. These factors are:

1. whether there is a pending state action in which all of the matters in

controversy may be fully litigated;

2. whether the plaintiff filed suit in anticipation of a lawsuit filed by the

defendant;

3. whether the plaintiff engaged in forum shopping in bringing the suit;

4. whether possible inequities in allowing the declaratory plaintiff to gain

precedence in time or to change forums exist;

5. whether the federal court is a convenient forum for the parties and witnesses;

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6. whether retaining the lawsuit would serve the purposes of judicial economy;
and

be whether the federal court is being called on to construe a state judicial
decree involving the same parties and entered by the court before whom the
parallel state suit between the same parties is pending.

Cc. The First Factor, The Existence of a State Action in Which All of The Matters
in Controversy May Be Fully Litigated, Weighs in Favor of Dismissal or Stay

The first factor examines “whether there is a pending state action in which all of the
matters in controversy may be fully litigated.... Trejo, 39 F.3d @ 590 (emphasis added). In
analyzing this factor, after examining several circuits’ Brillhart test, the Fifth Circuit
concluded:

In Sherwin-Williams Co. v. Holmes County, 343 F.3d 383 (5
Cir. 2003), the Fifth Circuit conciuded: “Each circuit’s test
emphasizes that if the federal declaratory judgment action
raises only issues of state law and a state case involving the
same state law issues is pending, generally the state court
should decide the case and the federal court should exercise
its discretion to dismiss the federal suit.” Sherwin-Williams
Co., 343 F.3d at 390-91. As the Supreme court noted in
Wilton: “We note that where the basis for declining to proceed
is the pendency of a state court proceeding, a stay will often be
the preferable course, because it assures the federal action
can proceed without risk of a time bar if the state case, for any
reason, fails to resoive the matter in controversy.” Wilton, 515
U.S. at 288 n.2 (emphasis added); see also Granite State Ins.
Co. v. Tandy Corp., 986 F.2d 94 (5" Cir. 1992) (affirming order
staying federal declaratory relief action brought by insurer
under Srillhart pending resolution of state court action on
merits).

The underlying state court action seeks a determination of whether Boucreaux and
HSB defectively designed the project, negligently and defectively constructed the project,

negligently supervised the sub-contractors, breached their contracts or unjustly enriched

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themselves resulting in the damages claimed by the Blanchets. The underlying state court
action thus necessarily will examine what happened, when, why, who caused it and what
damage was caused, if any.

In this declaratory judgement action, Accident seeks a determination of its duty to
defend and indemnify on those same facts. The factual issues which are necessary for
the coverage determination Accident seeks on this case, not only overlap, but are virtually
identical to the factual determinations to be made in the underlying state court action The
factual issues raised by Accident easily can and will be adjudicated in the underlying state
court action.

In Sherwin-Williams Co., supra, the Fifth Circuit noted that even where the identity
of the parties in the state action is not identical, abstention may be appropriate. “If there
iS a pending related state proceeding, but it is not ‘parallel’ because it does not involve alli
the same parties or issues, the federal district court properly considers the extent of
similarity between the pending state and federal court cases in deciding which court should
decide the dispute, rather than relying on a per se rule.” Sherwin-Williams Co., 343 F.3d
at 394 n.5. As the Fifth Circuit succinctly stated in one abstention analysis: “judicial
economy is a factor that can be taken into account.” Torch, inc. v. LeBlanc, 947 F.2d
193, 195 (5" Cir. 1991).' Put another way, “a federal court, in exercising jurisdiction to
grant or refuse relief [under the Declaratory Judgment Act], should avoid needless conflict
with other courts, state for federal.” Employer's Liability Assur. Corp. v. Mitchell, 211 F.2d

441, 443 (5" Cir. 1954). Here, the state court already is in the process of determining the

 

" The sixth factor, whether retaining the lawsuit in the district court would serve judicial economy
this also weighs in favor of abstention. See Trejo, 39 F.3d at 591.

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factual issues central to any coverage determination. Judicial economy and comity
concerns raised by the potential for inconsistent rulings, weigh overwhelmingly in favor of

abstention.

The Second, Third and Fourth Factors, Whether the Plaintiff Filed an
Anticipatory Action, Whether the Plaintiff Engaged in Forum Shopping, and

Potential Inequities in Allowing the Plaintiff to Select the Forum, Also Weigh
In Favor of A Stay

Accident has anticipated since the Underlying Claim was tendered that it would
dispute Boudreaux and HSB’s coverage. Accident has now filed this federal declaratory
relief action on its duty to defend and indemnify in anticipation of a potential damage award
against Boudreaux and HSB in the Underlying State Court Action. {n Mission Ins. Co. v.
Puritan Fashions Corp., 706 F.2d 599 (5" Cir. 1983), the Fifth Circuit affirmed a district
court’s dismissal of an insurer's declaratory relief action under the abstention doctrine. It
noted that “Anticipatory suits are disfavored because they are an aspect of forum
shopping.” Mission Ins. Co., 706 F.2d at 602n.3.

Here, the forum shopping is particularly egregious. Accident initiated this action
mere miles from the courthouse where the Underlying State Court Action has been
pending for seven months. Accideni’s selection of the federal district court, in lieu of the
state court, will require duplication of efforts by the parties and the judicial system, as
Accident and the defendants will have to re-establish the facts already addressed in the
Underlying State Court Action to another trier of fact in this court. There is no rational basis
for such inefficiencies and no reason to risk contradictory or inconsistent determinations.

The Fifth Factor, Whether Federal Court is a Convenient Forum for Parties and
Witnesses, Also Weighs in Favor of A Stay

 
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The fifth factor examines: “the relative ease of access to sources of proof;
availability of compulsory process for attendance of unwilling, and the cost of obtaining
attendance of willing witnesses; possibility of view of premises, if view would be appropriate
to the action; and all other practical problems that make trial of a case easy, expeditious
and inexpensive.” Mission ins. Co., 706 F.2d at 603.?

The Underlying State Court Action was filed in September 2012. Discovery and
settlement efforts have been undertaken in that action. The parties in the Underlying State
Court Action have scrutinized the facts, to determine what was required of Boudreaux and
HSB, as well as what was required by subcontractors. The Underlying State Court Action
is pending in the state court in Vermilion Parish, mere miles from this courthouse. No one
has complained that the Vermilion Parish forum was inconvenient or otherwise
inappropriate.

This Court Should Dismiss or Alternatively, Stay This Action Pending
the Resolution of the Underlying Action

In light of the abundant benefit to judicial economy and to reduce the risk of
inconsistent judgments, this action on Accident’s duty to defend and indemnify should be
either dismissed or stayed pending the resolution of the Underiying State Court Action.
This will minimize the risk of inconsistent judgments. An order staying this action also will
further the goals identified in Wilton: “We note that where the basis for declining to proceed
is the pendency of a state court proceeding, a stay will often be the preferable course,

because it assures the federal action can proceed without risk of a time bar if the state

 

? The seventh Trejo factor, which examines whether the federal court is called on to construe a
state judicial decree involving the same parties and eniered by the state court in the parallel action, does
not apply. See Trejo, 39 F.3d at 591.
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case, for any reason fails to resolve the matter in controversy. Wilfon, 515 U.S. at 288 n.2
(emphasis added).

Conclusion

Ultimately, this court must decide whether the scope of Boudreaux and HSB’s
coverage under its Accident policy for the claims and damages alleged in the Underlying
State Court Action is better determined here, or in the Underlying State Court Action. That
scope will turn upon the underlying facts as established in the Underlying State Court
Action and as governed by the state substantive law. In the interest of comity and judicial
economy, as well as each of the factors discussed above, Boudreaux and HSB request
that the court stay this action until the Underlying State Court Action is resolved.

Respectfully submitted:

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CERTIFICATE OF SERVICE

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| HEREBY CERTIFY that on the _28 day of March, 2013, a copy of the foregoing

was filed electronically with the Clerk of Court using the GM/ECF system.
KYLE L. GIDEON

 

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